              Case
               Case2:11-cr-00396-APG-PAL  Document 272-1
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PROB 22                                                                                                             DOCKET NUMBER (Tran. Court)
(Rev. 2/88)
                                                                                                                             2:11CR00396
                            TRANSFER OF JURISDICTION                                                                DOCKET NUMBER (Rec. Court)



NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE                          DISTRICT                               DIVISION

                                                                                           Nevada                        U.S. Probation Office
                                                                             NAME OF SENTENCING JUDGE
Maria Sanchez
                                                                                                        Andrew P. Gordon
                                                                             DATES OF PROBATION/          FROM                     TO
                                                                             SUPERVISED RELEASE

                                                                                                              4/16/2015                 4/15/2020
OFFENSE
Conspiracy to Possess Methamphetamine with Intent to Distribute




PART 1 - ORDER TRANSFERRING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE                                         DISTRICT OF                NEVADA



         IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer
   or supervised releasee named above be transferred with the records of this Court to the United States
   District Court for the DISTRICT OF NEBRASKA                                   upon that Court’s order
   of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
   supervised release may be changed by the District Court to which this transfer is made without further
   inquiry of this court.*


                             September 14, 2016
                                        Date                                                        United States District Judge

*This sentence may be deleted in the discretion of the transferring Court.
PART 2 - ORDER ACCEPTING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE                                         DISTRICT OF               NEBRASKA



         IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
   releasee be accepted and assumed by this Court from and after the entry of this order.




                Effective Date                                                       United States District Judge
